                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


UNITED STATES OF AMERICA,                             )
                                                      )
                              Plaintiff,              )
                                                      )
v.                                                    )       No. 3:05-CR-124
                                                      )       (JORDAN/GUYTON)
AMANDA HENRY,                                         )
                                                      )
                              Defendant.              )


                               MEMORANDUM AND ORDER

               All pretrial motions in this case have been referred to the undersigned pursuant to 28

U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

Court as may be appropriate. This matter is before the Court for disposition of the following

motions filed by defendant Amanda Henry: Motion For Leave To File Further Motions [Doc. 46],

Request For Disclosure Of Exculpatory Evidence [Doc. 47], Request For Notice Of Any Rule 404(b)

Evidence [Doc. 48] and Motion For Disclosure Of Identity Of Persons Who Were Present Or

Participated [Doc. 49].

               The government has filed a consolidated response [Doc. 51] in opposition to the said

motions.

               The Court has filed an Order on Discovery And Scheduling [Doc. 16] which

adequately addresses discovery in this case. The government has stated that it will comply with its

obligations under that Order, Rule 16 of the Federal Rules of Criminal Procedure, and the applicable

case law.


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               The defendant Amanda Henry’s above listed Motions [Docs. 46, 47, 48, and 49] are

not well-taken and, therefore, are DENIED. The Court does not grant blanket motions for leave to

file further motions. If the defendant wishes to file further motions, the defendant shall request leave

to do so at the time the motions are filed.

               IT IS SO ORDERED.


                                               ENTER:


                                                      s/ H. Bruce Guyton
                                                United States Magistrate Judge




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